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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §
                                      §
      Plaintiff,                      §              Case No: 2:22-cv-00782- GRB-SIL
                                      §
vs.                                   §              PATENT CASE
                                      §
LIGHTICO, INC.,                       §              JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

                PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) hereby files this

Response to the Court’s Order to Show Cause dated February 22, 2022, and for the reasons stated

herein, responds as follows:

       On February 11, 2022, Plaintiff filed its Complaint against Defendant Lightico, Inc.

(“Defendant” and/or “Lightico”) [Doc 1]. Plaintiff erroneously filed its Complaint in the Eastern

District of New York. Therefore, Plaintiff consents to a transfer of venue to the Southern District

of New York.




PLAINTIFF’S RESPONSE TO ORDER TO SHOW
CAUSE                                                                                            |1
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Dated: February 22, 2022.                Respectfully submitted,


                                         /s/Jay Johnson
                                         JAY JOHNSON (pro hac vice forthcoming)
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                                         ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on February 22, 2022. Parties may
access the foregoing through the Court’s system.


                                         /s/Jay Johnson
                                         JAY JOHNSON (pro hac vice forthcoming)




PLAINTIFF’S RESPONSE TO ORDER TO SHOW
CAUSE                                                                                           |2
